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                                       8                     UNITED STATES DISTRICT COURT
                                       9                    CENTRAL DISTRICT OF CALIFORNIA
                                      10   NNYDENS INTERNATIONAL              )    CASE NO. 2:18-cv-09455-DMG-SK
                                           INCORPORATED, a corporation,       )
                                      11                                      )    DEFENDANT TEXTRON
Gordon Rees Scully Mansukhani, LLP




                                                                   Plaintiff, )    AVIATION INC.S’
  633 West Fifth Street, 52nd Floor




                                      12                                      )    MEMORANDUM OF POINTS
                                                  vs.                              AND AUTHORITIES IN
      Los Angeles, CA 90071




                                                                              )
                                      13
                                                                              )    SUPPORT OF MOTION FOR
                                           TEXTRON AVIATION INC.                   SUMMARY JUDGMENT, OR IN
                                      14   ,a corporation; and DOES 1 through )    THE ALTERNATIVE, PARTIAL
                                           10, inclusive,                     )    SUMMARY JUDGMENT
                                      15                                      )
                                                                   Defendant )     (Concurrently filed with (1) Notice of
                                      16                           s.         )    Motion; (2) Statement of Undisputed
                                                                              )    Facts (3) Declaration of Cybill
                                      17                                      )    Zimmer;(4) Declaration of
                                                                              )    Christopher Weber; and (5)
                                      18                                      )    [Proposed] Order)
                                                                              )
                                      19                                      )    Hearing Date: 5/22/2020
                                                                              )    Time: 3:00 p.m.
                                      20                                      )    Judicial Officer: Hon. Dolly M. Gee
                                                                              )    Courtroom: 8C
                                      21                                      )
                                                                              )    Complaint Filed: 11/8/2018
                                      22                                      )    Pretrial Conference Date: 7/7/2020
                                                                              )    Trial Date: 8/04/2020
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                                       1                MEMORANDUM OF POINTS AND AUTHORITIES
                                       2   I.    INTRODUCTION
                                       3         A.     Background
                                       4         In this case, Plaintiff NNYDENS INTERNATIONAL INC. (“Plaintiff” or
                                       5   “NNYDENS”), is suing Defendant TEXTRON AVIATION INC., (“TAI”) for
                                       6   intentional and negligent interference of contract and unfair business practices
                                       7   based on such interference. Yet, during the course of this litigation, Plaintiff’s
                                       8   allegations have changed with regard to the particular contract with which TAI
                                       9   allegedly interfered. While Plaintiff’s Complaint only discusses one contract, to
                                      10   date, Plaintiff has alleged that TAI interfered with four separate contracts, both
                                      11   written and oral, with three different parties. TAI must now address all contracts
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                                      12   and parties in this motion. Plaintiff’s failure to fix upon one contract and/or to
      Los Angeles, CA 90071




                                      13   produce evidence that such contract was enforceable, and Plaintiff’s failure to
                                      14   produce evidence that TAI knew of those alleged contracts and/or that TAI
                                      15   conducted business with the other contracting parties, show that summary
                                      16   judgment or partial summary judgment is warranted.
                                      17         B.     The Story
                                      18         On February 12, 2018, Plaintiff solicited quotes on 64 aircraft parts from
                                      19   TAI. TAI manufactures and sells Cessna-brand aircraft and parts, among other
                                      20   things. When attempting to order the parts from TAI, Plaintiff’s CEO Ms. Fung
                                      21   repeatedly requested a reduction in the price of the parts, which totaled
                                      22   $2,686,125.87, but TAI refused. Six days later, on February 18, 2018, Plaintiff
                                      23   entered into a written agreement with the cousin of Plaintiff’s CEO, Helen Fung, in
                                      24   which Plaintiff agreed to supply the 64 aircraft parts that Plaintiff attempted to
                                      25   acquire from TAI. Ms. Fung’s cousin was Jianna Wu and her uncle owned an
                                      26   aircraft parts manufacturing company in China named Chendu Huatai Aviation
                                      27   Technology Co. Ltd. (“Chendu”), which is not mentioned in the written agreement
                                      28   with Wu. Under the written agreement, Wu would pay $15 million (more than 5

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                                       1   times the cost) to Plaintiff for the 64 parts she would purchase from TAI.
                                       2   Ultimately, TAI refused to sell the parts to Plaintiff because Plaintiff’s CEO Ms.
                                       3   Fung refused to identify the end-user of the parts and then later indicated that the
                                       4   parts were for Chinese “defense companies.” The latter statement implicated
                                       5   United States laws restricting the exportation of sensitive aircraft parts that could
                                       6   be used for military purposes by foreign governments and entities, including the
                                       7   International Traffic in Arms Regulations or “ITAR” (22 CFR 120-130) and
                                       8   Export Administration Regulations or “EAR” (15 CFR § 730.1); obtaining end-
                                       9   user information is a requirements of those regulations.1 TAI felt compelled to
                                      10   report Plaintiff’s activities to the Federal Bureau of Investigations and the United
                                      11   States Department of Commerce, Bureau of Industry and Security. Special agents
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                                      12   from those government agencies informed TAI that Ms. Fung and Plaintiff were
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                                      13   investigated previously when they attempted to purchase and export an aircraft
                                      14   engine, which also implicated ITAR, and Ms. Fung was admonished about same.
                                      15   The federal agents requested that TAI continue to communicate with Plaintiff and
                                      16   Ms. Fung and provide further information about the source of their funding, freight
                                      17   forwarding and any banking data.
                                      18           In the meantime, Plaintiff through Ms. Fung continued to solicit the
                                      19   purchase of aircraft parts from TAI. Plaintiff eventually decreased the number of
                                      20   parts it was seeking from TAI to one -- an “outflow valve.” Plaintiff and Ms. Fung
                                      21   still would not provide the name of the end-user for that part, claiming that TAI
                                      22   would steal that customer if Plaintiff provided that information. Eventually, TAI
                                      23   was able to ascertain the end-user’s identity because the outflow valve in question
                                      24   was installed in only three Cessna model aircraft in the world, all owned by the
                                      25   Chinese government’s Chinese Flight Inspection Center of CAAC (“CFIC-
                                      26

                                      27   1 See, 15 CFR Supplement No. 3 to Part 732 - BIS's “Know Your Customer” Guidance and Red Flags, a copy of
                                           which is attached to the Request for Judicial Notice. Also found at https://www.govinfo.gov/app/details/CFR-2012-
                                      28   title15-vol2/CFR-2012-title15-vol2-part732-appNo-/related.



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                                       1   CAAC”). Plaintiff later confirmed the end-user was CFIC-CAAC. TAI found that
                                       2   a related Chinese government entity and long-time customer of TAI, China
                                       3   Aviation Supplies Company (“CASC”), which is an affiliate of CFIC-CAAC,
                                       4   inquired about the same outflow valve from TAI approximately 7 months before
                                       5   Plaintiff solicited TAI for the part. Representatives of CFIC-CAAC informed TAI
                                       6   that it had previously ordered the part directly from TAI through CASC but had
                                       7   received no response and that Ms. Fung was “also” working on obtaining the part.
                                       8   Several other aircraft parts “middlemen” and brokers had also inquired about that
                                       9   part for CFIC-CAAC during that period of time, including Chendu. TAI
                                      10   ultimately decided to sell the outflow valve to both CASC and Plaintiff. The price
                                      11   of the outflow valve to Plaintiff was $107,934. When CASC ordered and
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                                      12   purchased the outflow valve directly from TAI, Plaintiff claimed that TAI
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                                      13   interfered with the contract with its customer and demanded that TAI not sell the
                                      14   part to CASC. Plaintiff never purchased the outflow valve from TAI because TAI
                                      15   could not provide an invoice for the part. TAI explained that the part was on
                                      16   special order from a third party manufacturer, Honeywell, and would take over 1
                                      17   year to manufacture, at which point an invoice could be generated.
                                      18         C.     The Contracts
                                      19         In its Complaint, Plaintiff alleged it “had entered into a series of sales
                                      20   agreements [sic] to sell to a certain China based manufacturer, Chendu Huatai
                                      21   Aviation Technology Co. Ltd.” (Complaint, para. 6) The gross amount of the sales
                                      22   agreements allegedly exceeded $15 million. (Id.) Plaintiff alleged that TAI
                                      23   “intentionally interfered with the contractual relationship between Plaintiff and
                                      24   Chendu with the intent to have Chendu breach the Chendu Sales Order so that
                                      25   Textron would obtain the sale over Plaintiff.” (See the Complaint, para. 11) Based
                                      26   on these allegations, NNYDENS asserted causes of action against TAI for
                                      27   intentional and negligent interference with contractual relations and unfair business
                                      28   practices.

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                                       1          However, in initial disclosures under Federal Rules of Civil Procedure, Rule
                                       2   26 (“Rule 26”), Plaintiff solely produced the written contract between Plaintiff and
                                       3   Jianna Wu for the initial 64 parts she unsuccessfully tried to buy from TAI for
                                       4   $2,686,125.87, and sell to Wu for $15 million. Later, in response to discovery,
                                       5   Plaintiff claimed that it had oral contracts with both Chendu and CFIC-CAAC to
                                       6   supply the outflow valve, which was ultimately priced at $107,934.00. The only
                                       7   evidence of the oral agreements Plaintiff produced was an email exchange,
                                       8   wherein CFIC-CAAC informed Chendu that TAI sold the outflow valve to CFIC-
                                       9   CAAC and that it had to cancel its order for the part from Chendu. A Chendu
                                      10   representative then sent an email to Ms. Fung stating that CFIC-CAAC purchased
                                      11   the part directly from TAI and canceling Chendu’s order for that part from
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                                      12   Plaintiff.
      Los Angeles, CA 90071




                                      13          As noted below, summary judgment is warranted because Plaintiff’s
                                      14   convoluted story about the alleged contracts it had with various parties cannot
                                      15   serve as a basis to establish an interference of contract by TAI. To establish
                                      16   intentional interference of contract, Plaintiff must prove “(1) a valid contract
                                      17   between plaintiff and a third party; (2) defendant’s knowledge of this contract; (3)
                                      18   defendant’s intentional acts designed to induce a breach or disruption of the
                                      19   contractual relationship; (4) actual breach or disruption of the contractual
                                      20   relationship; and (5) resulting damage.” (Pacific Gas & Electric Co. v. Bear
                                      21   Stearns & Co., 50 Cal. 3d 1118, 1126 (1990).)
                                      22          While Plaintiff’s Complaint alleges that TAI interfered with Plaintiff’s
                                      23   contract with Chendu by selling directly to Chendu, as demonstrated below and in
                                      24   the separate statement, Plaintiffs presented no evidence showing it had a written
                                      25   contract for $15 million with “Chendu,” as alleged in the Complaint, much less
                                      26   that TAI knew about it. Moreover, TAI possesses no evidence showing that TAI
                                      27   did not know Chendu, and did not do business with or sold parts to an entity named
                                      28   “Chendu” or Chendu Huatai Aviation Technology Co. Ltd. Accordingly, if

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                                       1   Plaintiff is still alleging that TAI interfered with its contract with Chendu,
                                       2   Plaintiff’s claims based thereon must fail as a matter of law because Plaintiff has
                                       3   produced no evidence to establish the necessary elements for that cause of action.
                                       4         As noted above, the second contract Plaintiff claims TAI interfered with was
                                       5   in writing and was produced by Plaintiff during Rule 26 disclosures. In its
                                       6   disclosure, NNYDENS produced a four-page document in Chinese. That
                                       7   document was translated into English, and it is entitled “Aircraft Part Purchase and
                                       8   Sale Contract.” That contract was ostensibly between NNYDENS and “Mr. Jiannu
                                       9   Wu (and the unidentified sales companies owned by him)” and was dated February
                                      10   18, 2018. In the recent deposition of Plaintiff’s CEO, Ms. Fung admitted that Wu
                                      11   was her cousin and that Ms. Fung drafted the alleged contract with Wu six days
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                                      12   after having first made contact with TAI regarding the 64 parts Plaintiff attempted
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                                      13   to purchase from TAI. In discovery responses, Plaintiff admitted that TAI was not
                                      14   aware of this particular agreement with Wu before this litigation, and TAI has no
                                      15   record of selling any aircraft parts to a “Jiannu Wu.” Plus, given that Plaintiff had
                                      16   no commitment from TAI to sell Plaintiff the 64 aircraft parts, the Wu agreement
                                      17   was impossible for Plaintiff to perform, and thus the agreement was void, not
                                      18   enforceable and could not serve as a basis for an intentional interference of
                                      19   contract claim. So, if Plaintiff is now alleging that TAI interfered with its contract
                                      20   with Jiannu Wu, Plaintiff’s claims based thereon must fail as a matter of law
                                      21   because there is no evidence showing that TAI knew about this contract, a
                                      22   necessary element of that claim.
                                      23         The third and fourth contracts implicated by Plaintiff were identified in
                                      24   recent discovery responses. NNYDENS most recently claimed that TAI interfered
                                      25   with two alleged oral contracts, one between Plaintiff and Chendu and the other
                                      26   between Plaintiff and CFIC-CAAC for the purchase of the outflow valve. The
                                      27   Complaint does not mention these alleged oral contracts. NNYDENS has not
                                      28   produced any evidence showing that the alleged oral contracts with Chendu and/or

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                                       1   CFIC-CAAC for the resale of the subject outflow valve were enforceable and can
                                       2   serve as the basis for Plaintiff’s interference with contract claims. The alleged oral
                                       3   contracts will not save Plaintiff’s claims. First, these alleged oral agreements were,
                                       4   in fact, not enforceable contracts because the outflow valve was priced at well
                                       5   above $500, $107,934.00 to be exact, which required a written contract under the
                                       6   applicable statute of frauds. California Uniform Commercial Code section 2201.
                                       7   The law is clear that alleged oral contracts that violate the statute of frauds are
                                       8   voidable and unenforceable, and a cause of action for intentional interference with
                                       9   contract cannot be maintained based on those unenforceable contracts. (PMC, Inc.
                                      10   v. Saban Entm't, Inc., 45 Cal. App. 4th 579, 599-600 (1996), disapproved of on
                                      11   other grounds in Korea Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134
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                                      12   (2003) and Bed, Bath & Beyond of La Jolla, Inc. v. La Jolla Vill. Square Venture
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                                      13   Partners, 52 Cal. App. 4th 867, 879 (1997). Secondly, it is undisputed that TAI
                                      14   did not know about any alleged oral agreements between Plaintiff and Chendu and
                                      15   Plaintiff and CFIC-CAAC; Ms. Fung never informed TAI about the convoluted
                                      16   arrangement and relationships Plaintiff had to purchase and resell the outflow
                                      17   valve. Thirdly, no California case has held that a defendant seller of a product can
                                      18   be held liable for intentional interference of multiple contracts, which together
                                      19   form a commercial chain that leads from Plaintiff to an end-user of a part or
                                      20   product. The reason that such a ruling has not been issued is obvious – a defendant
                                      21   seller realistically cannot and will not know about all the agreements in a chain
                                      22   when a potential customer simply solicits to buy a part for another entity. In short,
                                      23   Plaintiff cannot maintain its intentional interference claim based upon multiple
                                      24   contracts.
                                      25         Given the absence of evidence showing the existence of any valid and
                                      26   enforceable agreement between NNYDENS and its customers, and/or given TAI’s
                                      27   lack of knowledge of the specific terms of various agreements and relationships
                                      28   between NNYDENS and its customers, and/or given the lack of proof that TAI

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                                       1   conducted business with the parties, there is simply no basis in fact or law
                                       2   supporting NNYDENS’ claims of intentional interference of contract against TAI.
                                       3   Also as noted below, Plaintiff’s cause of action for negligent interference with
                                       4   contract fails, as a matter of law, because it is not recognized as a cause of action in
                                       5   California. Lastly, Plaintiff’s cause of action for unfair business practices also fails
                                       6   because Plaintiff is a commercial enterprise and not a consumer, and because the
                                       7   alleged unfair business practice consists of the alleged interference with contract
                                       8   Plaintiff has failed to prove. Summary judgment on all claims is therefore
                                       9   warranted, or alternative, partial summary judgment is warranted on any of
                                      10   Plaintiff’s causes of action, individually.
                                      11   II.   STATEMENT OF FACTS
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                                      12         A.     Plaintiff’s Complaint
      Los Angeles, CA 90071




                                      13         In Plaintiff’s Complaint, Plaintiff alleges that “from April 2018 through July
                                      14   2018, Plaintiff attempted to obtain the consent of Textron for its authorization to
                                      15   allow Honeywell to sell the Honeywell parts. Textron, however, withheld its
                                      16   consent; it wanted to know the identity of Plaintiff’ customer before authorizing
                                      17   the sale.” (Statement of Uncontroverted Facts (“SUF”) No .1). According to
                                      18   Plaintiff’s Complaint, “initially, Plaintiff balked believing that Textron may use the
                                      19   information to sell the Honeywell Parts directly to [its customer] Chendu. Textron
                                      20   assured Plaintiff that it would not contact Plaintiff’s customer and certainly would
                                      21   not use the information received by Plaintiff to solicit the sale of the same
                                      22   products.” (SUF No. 2). Plaintiff claims that “shortly thereafter, Chendu contacted
                                      23   Plaintiff and canceled the Chendu Sales Order. Textron had offered to sell the
                                      24   Honeywell Parts to Chendu. As a result, Plaintiff lost the Chendu Sales Order.”
                                      25   (SUF No. 3). Plaintiff alleges that “Textron intentionally interfered with the
                                      26   contractual relationship between Plaintiff and Chendu with the intent to have
                                      27   Chendu breach the Chendu Sales Order so that Textron would obtain the sale over
                                      28   Plaintiff. (SUF No. 4).

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                                       1         Contrary to Plaintiff’s allegations, it undisputed that TAI did not know
                                       2   Chendu and never contacted “Chendu,” did not know about any agreement with
                                       3   Chendu and did not do business with Chendu. (SUF No. 5).
                                       4         B.     Plaintiff’s Contacts with TAI and Investigations by Federal
                                                        Agents
                                       5
                                                 TAI’s interactions with Plaintiff NNYDENS began in early February 2018,
                                       6
                                           when NNYDENS, through its representative Helen Fung, contacted TAI and
                                       7
                                           requested a quotation for the purchase of 64 different aircraft parts ranging from
                                       8
                                           avionics to windshield assemblies for certain Cessna model aircraft. (“SUF” No.
                                       9
                                           6). TAI advised Plaintiff that end-user information for the parts would be required
                                      10
                                           in order to process the sale; Ms. Fung responded that the end-users were Chinese
                                      11
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                                           “defense companies,” and she was not authorized to disclose their information.
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                                      12
                                           (SUF No. 7) As for NNYDENS, Fung provided its “corporate address,” which
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                                      13
                                           TAI later learned was simply a residence in California. (SUF No. 8). Ms. Fung
                                      14
                                           was unwilling to provide the end-user information, and there was no additional
                                      15
                                           communication regarding that order. (SUF No. 9)
                                      16
                                                 Plaintiff’s representations caused suspicion and concern at TAI, especially
                                      17
                                           with regard to compliance with specific export laws and regulations, including
                                      18
                                           ITAR (22 CFR 120-130) and EAR” (15 CFR § 730.1). Plaintiff’s identification of
                                      19
                                           Chinese “defense companies” as the end-user of the aircraft parts, the size of the
                                      20
                                           order Plaintiff tried to place, the sensitive nature of those parts which could be used
                                      21
                                           for military purposes, the lack of any prior business transactions with Plaintiff and
                                      22
                                           Plaintiff’s request to deliver these aircraft parts to a home residence all raised “red
                                      23
                                           flags” within TAI. As such, in late February 2018, TAI contacted U.S. Department
                                      24
                                           of Commerce, Bureau of Industry and Security Special Agent Richard Weir to
                                      25
                                           advise of Plaintiff’s efforts to procure aircraft parts for possible export to a Chinese
                                      26
                                           defense contractor. (SUF No. 10). In response, on March 2, 2018, TAI was
                                      27
                                           contacted by Special Agent Cynthia Velasco of the U.S. Department of Commerce,
                                      28


                                                                                     -13-
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                                       1   Bureau of Industry and Security. (SUF No. 11). TAI was also later contacted by
                                       2   FBI Special Agent Nate Han, who advised that he was involved in the ongoing
                                       3   investigation Plaintiff and Ms. Fung with Special Agent Velasco. TAI was then
                                       4   asked by the federal agents to attempt to determine the freight forwarding
                                       5   information and banking information for Ms. Fung relative to the purchase the
                                       6   various aircraft parts and components. TAI cooperated and provided federal
                                       7   agents information about Plaintiff, including banking and alleged end-user
                                       8   information. (SUF No. 12). The federal agents and TAI continued to
                                       9   communicate until May 2018. (SUF No. 13).
                                      10           C.       Plaintiff’s Contacts with TAI Regarding TAI Outflow Valve No.
                                                            103678-4
                                      11
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                                                   Ms. Fung continued to reach out to TAI via telephone and, on March 30,
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                                      12
                                           2018, Ms. Fung requested a quote for a specific part, TAI Outflow Valve No.
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                                      13
                                           103678-4. (SUF No. 14). On March 30, 2018, Cybill Zimmer of TAI responded
                                      14
                                           to Ms. Fung advising that TAI cannot sell or supply any goods or service without
                                      15
                                           the necessary background information, including end-user information, and
                                      16
                                           requested that Ms. Fung cease contacting TAI until that information had been
                                      17
                                           provided. (SUF No. 15).
                                      18
                                                   Ms. Fung eventually provided TAI the name of the alleged end-user,
                                      19
                                           identifying the user as a Chinese company with Chinese characters, and claiming
                                      20
                                           that the company did not have an English name. (SUF No. 16). TAI, through the
                                      21
                                           use of Google Translate, discovered that the characters translated in English to
                                      22
                                           “China Sichuan Chengdu Hongtai Company in Chengdu City, Sichuan, China.”2
                                      23
                                           (SUF No. 17). On April 15, 2018, TAI responded to Plaintiff’s request for a quote
                                      24
                                           on TAI Outflow Valve No. 103678-4, advising that Plaintiff must provide the
                                      25
                                           model and the serial number of the aircraft on which the valve would be installed,
                                      26

                                      27
                                           2TAI can only assume that Plaintiff was referring to Chendu or “Chendu Huatai Aviation Technology Co. Ltd.”
                                      28   Chendu is not registered owner of any Cessna aircraft, and therefore, could not have been the end-user of the
                                           outflow valve.


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                                       1   the correct identity of the end-user of the part and any banking information before
                                       2   TAI can move forward with the sale of the outflow valve. (SUF No. 18). On April
                                       3   16, 2018, Plaintiff partially responded by providing the aircraft model and serial
                                       4   number but did not provide actual end-user information. (SUF No. 19).
                                       5         Based upon the part number and serial number for the aircraft, TAI was able
                                       6   to determine that the end-user for this part was China Flight Inspection Center of
                                       7   CAAC (“CFIC-CAAC”). CASC is the purchasing division for CFIC-CAAC.
                                       8   Together, they perform the equivalent function of the U.S. Federal Aviation
                                       9   Administration in China. (SUF No. 20). CFIC-CAAC through CASC is a large
                                      10   customer of TAI and a TAI “fleet operator.” CFIC-CAAC and CASC were also
                                      11   official “channel partners” of TAI in China in 2018, meaning that they operated an
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                                      12   authorized TAI service and repair facility, purchased parts from TAI directly and
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                                      13   performed warranty and maintenance work on all manner of TAI aircraft at its
                                      14   facilities in China. (SUF No. 21). As official channel partners of TAI, TAI
                                      15   encouraged CFIC-CAAC and CASC to use TAI as the primary source for all their
                                      16   aircraft part needs. (SUF No. 22).
                                      17         TAI reached out to CFIC-CAAC on May 2, 2018, and inquired of CFIC-
                                      18   CAAC’s representative Feng Yue whether CFIC-CAAC had asked Helen
                                      19   Fung/NNYDENS for a quote on the outflow valve for use on CFIC-CAAC’s
                                      20   Cessna 680 aircraft (SUF No. 23). Ms. Yue responded that CFIC-CAAC had been
                                      21   looking to purchase the outflow valve since September 17, 2017, that CFIC had
                                      22   reached out to TAI for this part and had not received a response and that Helen
                                      23   Fung “was also working on purchasing” it for CFIC-CAAC. (SUF No. 24). Yue
                                      24   never directed or complained that TAI must do business with Fung and that TAI
                                      25   could not sell the part directly to CFIC-CAAC. (SUF No. 25.)
                                      26         Besides NNYDENS, several other “middlemen” attempted to order the same
                                      27   outflow valve; presumably CFIC-CAAC solicited all these middlemen for the part.
                                      28   China Aviation Supply Co. (CASC) inquired about the part as early as July, 2017.

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                                       1   (SUF No. 26). Thus, as of May 2018, TAI had a total of three pending quotes for
                                       2   the outflow valve: one from CASC for CFIC-CAAC, one from Johnson Aircraft
                                       3   Service, and one from Plaintiff through Helen Fung. (SUF No. 27).
                                       4         The outflow valve is a specialized part for high altitude flight and is only
                                       5   used on three aircraft in the world, all of which are owned by CFIC-CAAC or its
                                       6   affiliates. (SUF No. 28). Further, since the outflow valve part is actually
                                       7   manufactured by another company, Honeywell, it is both expensive (costing
                                       8   approximately $100,000) and time-consuming to make (approximately 54 weeks
                                       9   from the time of a purchase order to part delivery). (SUF No. 29). TAI generated a
                                      10   quote for CASC on May 3, 2018; CASC thereafter purchased the part on TAI’s
                                      11   website on June 13, 2018, at a price of $94,801, with an up-front deposit of
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                                      12   $30,000. (SUF No. 30.
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                                      13         TAI also followed-up with Plaintiff and Helen Fung regarding the part;
                                      14   TAI’s Cybill Zimmer continued to work with Plaintiff throughout the months of
                                      15   April and May 2018. (SUF No. 31). Then, on June 19, 2018, Ms. Zimmer wrote
                                      16   to Ms. Fung advising that the outflow valve was a highly specialized part and
                                      17   certain non-negotiable conditions would apply to the transaction. Plaintiff had to
                                      18   pay $107,934.00 by wire, not including shipping or taxes; the price for the part was
                                      19   subject to change at any time and any price increase was to be passed on to
                                      20   Plaintiff directly; the lead time for part delivery was 57 weeks and the order could
                                      21   not be cancelled; and lastly, the eventual delivery of the part could not be
                                      22   guaranteed, and the purchase was non-refundable. (SUF No. 32). Because
                                      23   NNYDENS had never done business with TAI and was not a “channel partner” of
                                      24   TAI, NNYDENS did not receive the discounted price that CASC received. If
                                      25   Plaintiff had complied with the non-negotiable conditions and paid TAI for the
                                      26   part, TAI would have sold the part to Plaintiff. (SUF No. 34). However, TAI did
                                      27   not receive any confirmation from Plaintiff regarding acceptance of the conditions.
                                      28   (SUF No. 35). Plaintiff wanted TAI to generate an invoice for the part, but TAI

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                                       1   explained that the part was on special order from a third party manufacturer, and an
                                       2   invoice could be generated only when the work was performed. (SUF No. 36).
                                       3         D.     TAI’s Lack of Knowledge About Plaintiff’s Alleged Business
                                                        Relationships with Chendu, Jianna Wu and CFIC-CAAC and the
                                       4                Alleged Oral Contracts
                                       5         At no time during TAI’s interaction with NNYDENS concerning part no.
                                       6   103678-4, or at any other time, did Plaintiff’s representative Ms. Fung ever
                                       7   mention, reference or state to TAI representatives that Plaintiff had a contract with
                                       8   Chendu, Jianna Wu or CFIC-CAAC, for the purchase of that part from TAI and the
                                       9   resale of it to those parties. (SUF No. 37).
                                      10         During initial Rule 26 disclosures, Plaintiff produced to TAI a four-page
                                      11   document written in Mandarin. That document was translated into English and it
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                                      12   is purportedly an “Aircraft Part Purchase and Sale Contract” between NNYDENS
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                                      13   and “Mr. Jianna Wu (and the sales companies owned by him)” dated February 18,
                                      14   2018. (SUF No. 38). This “contract” or agreement purports to be for “Plaintiff to
                                      15   export to China commercial aircraft parts manufactured in the U.S.,” with “64 parts
                                      16   ordered this time,” at a quoted price of $15 million. (SUF No. 39).
                                      17         Moreover, the Jianna Wu agreement was entered into on February 18, 2018,
                                      18   six days after Plaintiff first received the quote from TAI for the 64 parts on
                                      19   February 12, 2018; TAI was under no obligation to fulfill the order for this quote.
                                      20   (SUF No. 40). In discovery responses, Plaintiff admitted that TAI did not know
                                      21   about the contract with Wu until after this litigation commenced. (SUF No. 41).
                                      22         In response to discovery, Plaintiff claims that it had an oral agreement with
                                      23   Chengdu Huatai Aviation Company to locate and obtain the 103678-4 outflow
                                      24   valve and supply the valve to China Flight Inspection Center, and an oral
                                      25   agreement with China Flight Inspection Center to locate and obtain the 103678-4
                                      26   outflow valve and supply the valve to China Flight Inspection Center (SUF Nos.
                                      27   42, 44). Plaintiff has produced no evidence to establish that its oral agreements
                                      28   with Chendu and CFIC-CAAC were valid or enforceable. In actuality, those oral

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                                       1   contracts violated the statute of frauds, given that price of the outflow valve was
                                       2   approximately $100,000. California Uniform Commercial Code section 2201.
                                       3   (SUF No. 43) (SUF No. 45). There is also no evidence that TAI could have
                                       4   induce a breach of those oral agreements because there is no indication that the
                                       5   oral contracts to supply the outflow valve were exclusive, or that Chendu and
                                       6   CFIC-CAAC were obligated to buy the parts from Plaintiff only and not directly
                                       7   from TAI. (SUF No. 46).
                                       8          In the deposition of Plaintiff’s CEO Helen Fung, she admitted that Jianna
                                       9   Wu was her cousin, and Fung’s uncle, Feng Bo, owned Chendu. (SUF No. 47).
                                      10   Ms. Fung also admitted that she did not have an agreement with CFIC-CAAC,
                                      11   which she called the “Flight School,” whereby CFIC-CAAC could only buy the
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                                      12   aircraft parts from Plaintiff and not directly from TAI. (SUF No. 48). Lastly,
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                                      13   Fung admitted that the only documentary evidence of the alleged oral agreements
                                      14   Plaintiff had with Chendu and CFIC-CAAC, was an email string, wherein CFIC-
                                      15   CAAC first informed Fung’s uncle and Chendu representative Feng Bo that TAI
                                      16   sold the outflow valve to CFIC-CAAC and that CFIC-CAAC had to cancel its
                                      17   order for that part from Chendu. Feng Bo then sent an email to Ms. Fung, stating
                                      18   that CFIC-CAAC purchased the part directly from TAI and canceling Chendu’s
                                      19   order for that part from Plaintiff. (SUF No. 49).
                                      20   III.   LEGAL STANDARD
                                      21          Summary judgment against a party is appropriate when the pleadings,
                                      22   depositions, answers to interrogatories, and admissions on file, together with the
                                      23   affidavits, if any, show that there is no genuine issue as to any material fact and
                                      24   that the moving party is entitled to a judgment as a matter of law. (Fed. R. Civ. P.
                                      25   56(c)). A party seeking summary judgment bears the initial burden of informing
                                      26   the court of the basis for its motion and of identifying those portions of the
                                      27   pleadings and discovery responses, which demonstrate the absence of a genuine
                                      28   issue of material fact. (See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)). A

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                                       1   “genuine issue” exists if there is a sufficient evidentiary basis on which a
                                       2   reasonable jury could find for the non-moving party. (See Anderson v. Liberty
                                       3   Lobby, Inc., 477 U.S. 242, 249 (1986)). A factual dispute is “material” if it might
                                       4   affect the outcome of the suit under governing law. (Id. at 248).
                                       5         Once the movant has sustained the initial burden, the non-movant “must set
                                       6   forth specific facts showing that there is a genuine issue for trial.” (Anderson, 477
                                       7   U.S. at 250). Under Rule 56, the non-moving party opposing a summary judgment
                                       8   motion must make a showing “sufficient to establish the existence of an element
                                       9   essential to [his] case, and on which [he] will bear the burden of proof at trial …
                                      10   since a complete failure of proof concerning an essential element of [his] case
                                      11   necessarily renders all other facts immaterial.” (Celotex, 477 U.S. at 322-23).
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                                      12         When the non-movant bears the burden of proof at trial, the court evaluates
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                                      13   “the evidence presented through the prism of the substantive evidentiary burden.”
                                      14   (Anderson, 477 U.S. at 254). The court determines whether there is a triable issue
                                      15   of fact in light of the “actual quantum and quality of proof” the non-movant must
                                      16   meet at trial. (Id.) Rule 56 does not require “that the moving party support its
                                      17   motion with affidavits or other similar materials negating the opponent’s claim.”
                                      18   (Celotex Corp., 477 U.S. at 323). Conclusory, speculative testimony is insufficient
                                      19   to raise genuine issues of material fact and defeat summary judgment. (Soremekun
                                      20   v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir.2007)).
                                      21   IV.   ARGUMENT
                                      22         A.     Plaintiff’s First Cause of Action for Intentional Interference with
                                                        Contractual Relations Fails as a Matter of Law
                                      23
                                                 On summary judgment and/or partial summary judgment, if TAI shows that
                                      24
                                           there is an absence of evidence to support Plaintiff’s causes of action, Plaintiff
                                      25
                                           bears the burden of producing evidence sufficient to sustain a jury verdict on those
                                      26
                                           issues for which it bears the burden at trial.” (Celotex Corp., supra, 477 U.S. at
                                      27

                                      28


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                                       1   324). As demonstrated below, Plaintiff cannot meet this burden and summary
                                       2   judgment and/or partial summary judgment should be granted.
                                       3         As noted above, the elements of a cause of action for intentional interference
                                       4   with contractual relations are: “(1) a valid contract between plaintiff and a third
                                       5   party; (2) defendant’s knowledge of this contract; (3) defendant’s intentional acts
                                       6   designed to induce a breach or disruption of the contractual relationship; (4) actual
                                       7   breach or disruption of the contractual relationship; and (5) resulting damage.”
                                       8   (Pacific Gas & Electric Co. v. Bear Stearns & Co. 50 Cal. 3d 1118 (1990), 1126).
                                       9         Here, Plaintiff cannot establish the tort of intentional interference with
                                      10   contract because there are no facts showing either that there was an existing
                                      11   underlying and enforceable contract between Plaintiff and a third person, and/or
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                                      12   that TAI knew of the existence of any contract, or its terms, between Plaintiff and
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                                      13   any third party and/or that TAI actually did business with those third parties. The
                                      14   failure of proof on an essential element renders all other facts immaterial, and
                                      15   judgment as a matter of law on this point. (Celotex Corp. v. Catrett, 477 U.S. 317,
                                      16   322 (1986).
                                      17         TAI will address each contract Plaintiff allegedly had with third parties in
                                      18   the order they were revealed in this litigation.
                                      19                 1.    Plaintiff’s First Cause of Action for Intentional Interference
                                                               with Contractual Relations Fails on Grounds that the
                                      20                       Alleged Contract with Chendu Identified in the Complaint
                                                               Does Not Exist, TAI Did Not Know About It and TAI Did
                                      21                       Not Conduct Business with Chendu
                                      22         The first “contract” alleged by Plaintiff appears in the Complaint, and is
                                      23   purportedly between Plaintiff and an entity named Chendu. However, Plaintiff has
                                      24   never produced a written contract with Chendu, as it is described in the Complaint,
                                      25   namely a contract with Chendu for the purchase of TAI aircraft parts worth $15
                                      26   million. So, a written contract between NNYDENS and Chendu as described in
                                      27   the Complaint must not exist.
                                      28


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                                       1         Additionally, TAI presented evidence showing that its representatives did
                                       2   not know about the alleged contract with Chendu. (SUF No. 37). One essential
                                       3   element to establish Plaintiff's contract interference claim is to prove TAI had
                                       4   “knowledge” of each contractual relationship at issue. This critical requirement for
                                       5   a claim of interference with a contract requires proof that the defendant was aware
                                       6   of the specific contractual obligations that the plaintiff alleges were breached or
                                       7   disrupted. (See Savage v. Pacific Gas & Electric 21. Cal.App.4th 50 434, 448-449
                                       8   (1993); Contemporary Investments, Inc. v. Safeco Title Ins. Co. 145 Cal.App.3d
                                       9   999, 1002-1003 (1983) [reversing judgment where plaintiff “failed to adduce any
                                      10   testimony relating to [defendant’s] knowledge of the existence or terms of the
                                      11   contract”]). Absent such evidence, the claim fails as a matter of law. (See Id. at
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                                      12   1002-1003; See also Quelimane Co. v. Stewart Title Guaranty Co. 19 Cal.4th 26,
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                                      13   56 (1998))
                                      14         Lastly, TAI presented evidence that it did not know Chendu and, as such,
                                      15   did not conduct business with an entity named Chendu. (SUF No. 5).
                                      16         Without establishing the existence of the agreement described in the
                                      17   Complaint, TAI’s knowledge of that contract and TAI’s ultimately sale of parts to
                                      18   Chendu as described in the Complaint, summary judgment should be entered as to
                                      19   Plaintiff’s cause of action for intentional interference with contract as it is alleged
                                      20   in the Complaint.
                                      21                2.     Plaintiff’s First Cause of Action for Intentional Interference
                                                               with Contractual Relations Fails on Grounds that the
                                      22                       Written Contract with Jianna Wu was Not Known to TAI,
                                                               TAI Never Conducted Business with Jianna Wu and the
                                      23                       Contract was Impossible to Perform
                                      24         The next contract Plaintiff apparently claims that TAI interfered with was
                                      25   revealed during Rule 26 disclosures when Plaintiff produced a four-page written
                                      26   document entitled “Aircraft Part Purchase and Sale Contract.” This “contract” was
                                      27   ostensibly between Plaintiff and “Mr. Jianna Wu” (who is the cousin of Plaintiff’s
                                      28   CEO Helen Fung) and was dated February 18, 2018. This “contract” was for

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                                       1   “Plaintiff to export to China commercial aircraft parts manufactured in the U.S.,”
                                       2   with “64 parts ordered this time,” at a quoted price of $15 million. (SUF No. 39).
                                       3   On its face, Plaintiff was to sell to Jianna Wu aircraft parts for $15 million, and
                                       4   purportedly NNYDENS was to realize a SUBSTANTIAL profit from this
                                       5   transaction, more than 5 times the cost of the parts.
                                       6         However, Plaintiff cannot sue TAI for intention interference with this
                                       7   written contract because Plaintiff admitted in discovery that Plaintiff did not reveal
                                       8   this contract and TAI did not know about it until after this litigation was
                                       9   commenced. (SUF No. 41). The law is clear that Plaintiff must prove more than
                                      10   mere general knowledge of the existence of Plaintiff's contractual relationship.
                                      11   Rather, Plaintiff must also prove that TAI was aware of the specific provisions
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                                      12   allegedly being disrupted. (See Winchester Mystery House, LLC v. Global Asylum,
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                                      13   Inc., 210 Cal. App. 4th 579, 597 (2012) [defendant had insufficient knowledge to
                                      14   commit interference with contract and economic advantage where defendant had
                                      15   no knowledge and was not informed by plaintiff of the terms of contract with third
                                      16   party, or of the fact that its contract specifically called for another company to
                                      17   produce feature film on the same subject]; Davis v. Nadrich 174 Cal. App. 4th 1,
                                      18   10-11 (2009) [plaintiff cannot prove tort of interference with contract because
                                      19   plaintiff had “not brought forth any facts to show that [defendant] was sufficiently
                                      20   aware of the details of the [subject] contract to form an intent to harm it”]).
                                      21   Equally important, the law requires Plaintiff to prove that the foregoing state of
                                      22   knowledge existed before the alleged interference. (See, e.g., Dryden v. Tri-Valley
                                      23   Growers 65 Cal. App. 3d 990, 996 (1977) [interference claim “fatally defective”
                                      24   where defendant learned of contract “one day after” the alleged interference; See
                                      25   also 3 Levy et al., California Torts (2007) § 40.112 (“[t]he defendant must have
                                      26   known about the contract before the defendant acted”).
                                      27         Likewise, TAI presented evidence that it never conducted business with
                                      28   Jianna Wu. (SUF No. 37).

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                                       1         Lastly, the “contract” is void simply because it was impossible to perform.
                                       2   (Baird v. Wendt Enterprises, Inc. 248 Cal.App.2d 52, 55 (1967) [purchase contract
                                       3   was excused by reason of impossibility].) Here, the alleged agreement Plaintiff
                                       4   had with Jianna Wu was to provide 64 TAI parts for re-sale. Plaintiff had received
                                       5   ONLY a quote from TAI for the 64 parts six days before it entered the agreement
                                       6   with Jianna Wu, on February 12, 2018, and TAI did not agree to sell NNYDENS
                                       7   the parts because NNYDENS refused to provide end-user information, among
                                       8   other reasons. Thus, Plaintiff did not have the 64 parts in its possession to sell or
                                       9   provide to Jianna Wu, and TAI never made any commitment to provide them to
                                      10   Plaintiff. The entire agreement appears to revolve around a quote, which TAI
                                      11   generated pursuant to Plaintiff’s request, but TAI was under no obligation to fulfill
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                                      12   that order. Absent a legal duty on part of TAI to sell these 64 parts to Plaintiff, it
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                                      13   was legally impossible for Plaintiff to complete any subsequent re-sale agreement
                                      14   with Jianna Wu. (See Autry v. Republic Productions, Inc. 30 Cal.2d 144, 157
                                      15   (1947) [whether impossibility exists in a given case is a question of law].
                                      16         An intentional contractual interference action is simply not viable without an
                                      17   underlying enforceable contract. (Bed, Bath & Beyond of La Jolla, Inc. v. La Jolla
                                      18   Vill. Square Venture Partners, 52 Cal. App. 4th 867, 879 (1997). As Plaintiff has
                                      19   failed to produce evidence that any alleged agreement with Jianna Wu purportedly
                                      20   interfered with by TAI constituted a valid, enforceable contract, Plaintiff’s
                                      21   intentional contractual interference claim must fail.
                                      22                3.     Plaintiff’s First Cause of Action for Intentional Interference
                                                               with Contractual Relations Fails on Grounds that the
                                      23                       Alleged Oral Agreements with Chendu and CFIC-CAAC
                                                               for the Outflow Valve were Not Enforceable as They
                                      24                       Violated the Statute of Frauds, They were Not Known to
                                                               TAI and TAI Actually Never Conducted Business Directly
                                      25                       with Chendu and CFIC-CAAC
                                      26         Plaintiff alleges in recent discovery responses Plaintiff claimed it had two
                                      27   oral agreements with Chengdu Huatai Aviation Company and CFIC-CAAC to
                                      28   locate and obtain the 103678-4 outflow valve, and supply the valve to CFIC-

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                                       1   CAAC. (SUF No. 42). Assuming that Plaintiff in fact had these “oral
                                       2   agreements,” which is disputed, they were not valid and enforceable contracts, as a
                                       3   matter of law, and as such, cannot serve as a basis for a claim of intentional
                                       4   interference of contract against TAI.
                                       5         To state a claim for intentional interference with contractual relations,
                                       6   Plaintiff must plead and prove an underlying enforceable contract. (Bed, Bath &
                                       7   Beyond of La Jolla, Inc., supra, 52 Cal. App. 4th at 879). No action for
                                       8   interference with contractual relations will lie where the contract at issue is void ab
                                       9   initio, or voidable at the option of the parties. (PMC, Inc. v. Saban Entm't, Inc., 45
                                      10   Cal. App. 4th 579, 599-600 (1996), disapproved of on other grounds in Korea
                                      11   Supply Co. v. Lockheed Martin Corp., 29 Cal. 4th 1134 (2003).
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                                      12         The statute of frauds states in relevant part: "Except as otherwise provided in
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                                      13   this section a contract for the sale of goods for the price of five hundred dollars ($
                                      14   500) or more is not enforceable by way of action or defense unless there is some
                                      15   writing sufficient to indicate that a contract for sale has been made between the
                                      16   parties and signed by the party against whom enforcement is sought or by his or
                                      17   her authorized agent or broker." (Cal. U. Com. Code, § 2201, subd. (1); and
                                      18   Donovan v. Rrl Corp., 26 Cal. 4th 261, 277 (2001)).
                                      19         Here, the evidence shows that the subject outflow valve was priced at over
                                      20   $100,000 (SUF No. 29), so it squarely falls within and violates the statute of frauds
                                      21   under the California Commercial Code. An oral agreement that violates the statute
                                      22   of frauds is voidable at the election of either party and each party to such an
                                      23   agreement accepts the risk that the other party withdraws. (Goldstein v. McNeil,
                                      24   122 Cal. App. 2d 608, 611 (1954)).
                                      25         The facts and analysis in PMC, Inc. v. Saban Entertainment are instructive
                                      26   in this case. (PMC, Inc. supra, 45 Cal. App. 4th 579). In PMC, Inc., Plaintiff sued
                                      27   Saban Entertainment, Inc. (Saban), which held the copyright for the name and
                                      28   likeness of "The Mighty Morphin Power Rangers." Plaintiff alleged that it had an

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                                       1   oral agreement for the exclusive license to market and manufacture items using the
                                       2   Power Rangers name. Saban ultimately entered into an exclusive license contract
                                       3   with a third party, Tsumura International, Inc. (Tsumura). Plaintiff sued both,
                                       4   alleging it actually had entered into a prior, oral exclusive contract with Saban,
                                       5   which Saban had breached by entering into the contract with Tsumura. Plaintiff
                                       6   also alleged that Tsumura had intentionally interfered with Plaintiff’s contractual
                                       7   and business relationship with Saban. Both defendants moved for summary
                                       8   judgment, which were granted.
                                       9            When affirming summary judgment, the Court of Appeal found that the
                                      10   cause of action for breach of contract against Saban must fail because there was no
                                      11   formalized agreement, which satisfied the Copyright Act's requirement of a signed
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                                      12   writing.3 (PMC, Inc., supra, 45 Cal. App. 4th at 599-600). More importantly, as to
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                                      13   Tsumura, the Court held that Plaintiff cannot assert a cause of action for intentional
                                      14   interference with contract because there was no enforceable contract with which to
                                      15   interfere. (Id.).
                                      16            When addressing whether Plaintiff could rely upon an oral contract that was
                                      17   voidable to assert interference of contract, the PMC, Inc. Court went to great
                                      18   lengths to discuss precedent both inside and outside of California. Ultimately, it
                                      19   reasoned “[i]t is logical to force the plaintiff to plead and prove an enforceable
                                      20   contract when stating a cause of action for intentional interference with contract. If
                                      21   a party is not obligated to perform a contract and may refuse to do so at his election
                                      22   without penalty [because of the statute of frauds], then the other party to that
                                      23   agreement enjoys nothing more than an expectancy.” (PMC, Inc., supra, 45 Cal.
                                      24   App. 4th at 599-600; bracketed information added). “A stranger intentionally
                                      25   interfering with that relationship quite obviously does not disturb an enforceable
                                      26   contract but only a prospective economic relationship.” (Id. at 600). Indeed,
                                      27
                                           3While the trial court found the contract also voidable under the statute of frauds, the Court of Appeal only focused
                                      28   on the writing requirement under the Copyright Act because the Act “more stringent” than the common law statute
                                           of frauds. (PMC, Inc., supra, 45 Cal. App. 4th at 591-592).


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                                       1   “economic relationships short of contractual, however, should stand on a different
                                       2   legal footing as far as the potential for tort liability is reckoned. Because ours is a
                                       3   culture firmly wedded to the social rewards of commercial contests, the law
                                       4   usually takes care to draw lines of legal liability in a way that maximizes areas of
                                       5   competition free of legal penalties.” (Id. at 600, citing Della Penna v. Toyota
                                       6   Motor Sales, U.S.A., 11 Cal. 4th 376, 392 (1995)). Finally, the Court “was
                                       7   compelled to conclude that a cause of action for intentional interference with
                                       8   contract requires an underlying enforceable contract. Where there is no existing,
                                       9   enforceable contract, only a claim for interference with prospective advantage may
                                      10   be pleaded.” (Id. at 601).
                                      11         Here, Plaintiff’s alleged oral “contracts” with Chendu and CFIC-CAAC are
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                                      12   within and violate the statute of frauds under the California Commercial Code.
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                                      13   The holding in PMC, Inc., makes clear that these oral agreements are then rendered
                                      14   voidable and need not be performed at the election of either Plaintiff, Chendu and
                                      15   CFIC-CAAC, so no breach of those contracts can occur. Given that fact, similar to
                                      16   Defendant Tsumura in PMC, Inc., TAI cannot be held liable for intentional
                                      17   interference with contract without an enforceable agreement, which is not
                                      18   voidable. Plaintiff’s voidable contracts are tantamount to no more than a mere
                                      19   “expectancy” and interference with the same is therefore not actionable under an
                                      20   intentional contractual interference theory.
                                      21         PMC, Inc., holds that Plaintiff’s only possible remaining claim is for
                                      22   interference with prospective advantage, but Plaintiff did not allege that cause of
                                      23   action in its Complaint. Therefore, TAI will not address that merits of such a non-
                                      24   existing claim. Needless to say, the reason that Plaintiff did not assert such a cause
                                      25   of action is obvious. The claim for interference with prospective advantage
                                      26   permits Defendants to raise the defense under the “privilege of free competition,”
                                      27   meaning they are free to divert business themselves as long as they use fair and
                                      28   reasonable means." (Id. at 603; Tri-Growth Centre City, Ltd. v. Silldorf, Burdman,

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                                       1   Duignan & Eisenberg 216 Cal. App. 3d 1139, 1153 (1989)). “[T]he competition
                                       2   privilege is defeated only where the defendant engages in unlawful or illegitimate
                                       3   means.” (San Francisco Design Center Associates v. Portman Companies 41 Cal.
                                       4   App. 4th 29, 42 (1995). “Ours is a competitive economy in which business entities
                                       5   vie for economic advantage. . . . [s]uccess goes to him who is able to induce
                                       6   potential customers not to deal with a competitor.” (Buckaloo v. Johnson, 14 Cal.
                                       7   3d 815, at p. 828 (1975)).
                                       8         Here, as noted above, TAI simply exercised its privilege of free competition
                                       9   and sold the outflow valve to TAI’s long-time customer and channel partner, a
                                      10   separate entity, CASC, which had inquired about the outflow valve from TAI close
                                      11   7 months before Plaintiff solicited the part. (SUF No. 26) TAI did not know about
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                                      12   the alleged oral contracts between Plaintiff and Chendu and Plaintiff and CFIC-
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                                      13   CAAC. Technically, TAI did not interfere with either alleged relationship because
                                      14   TAI did not sell the outflow valve to Chendu or CFIC-CAAC specifically. It sold
                                      15   the part to CASC. Whether CASC is related to CFIC-CAAC or not, there was
                                      16   nothing unfair, unreasonable, unlawful or illegitimate about this transaction, which
                                      17   was clearly covered by the free competition privilege.
                                      18                4.     No Case has Held that Defendants Can Be Held Liable for
                                                               Intentional Interference with Multiple Contracts
                                      19
                                                 Legal research shows that no California case has held that a defendant seller
                                      20
                                           of a product can be held liable for intentional interference of multiple contracts
                                      21
                                           with multiple parties, which together form a commercial supply chain that leads
                                      22
                                           from Plaintiff to an end-user of a part or product.
                                      23
                                                 In response to discovery, Plaintiff indicated that the only proof of its oral
                                      24
                                           agreements with Chendu and CFIC was an email exchange. In the exchange,
                                      25
                                           CFIC-CAAC first notified the uncle of Plaintiff’s CEO Ms. Fung, who owned
                                      26
                                           Chendu, that it purchased the outflow valve from TAI directly and canceled its
                                      27
                                           order for that part with Chendu. Ms. Fung’s uncle at Chendu then sent an email to
                                      28


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                                       1   Ms. Fung, wherein Chendu informed Ms. Fung that CFIC-CAAC purchased the
                                       2   part from TAI directly and canceling Chendu’s order for that part from Plaintiff.
                                       3   (SUF No. 49). These emails do not mention that CASC was obligated to purchase
                                       4   the outflow valve from Chendu or Plaintiff and that CASC could not purchase it
                                       5   directly from TAI. So, the oral agreements were not exclusive, and there was
                                       6   apparently no stated breach of the agreements when CASC purchased the valve
                                       7   from TAI.
                                       8         More importantly, Ms. Fung never told TAI representatives about these
                                       9   multiple contracts and the chain that lead from Plaintiff to the end-user CFIC-
                                      10   CAAC. Indeed, after many requests from TAI, Plaintiff finally identified CFIC-
                                      11   CAAC as the end user. But Plaintiff’s representative, Ms. Fung, never identified
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                                      12   the agreement she had with Chendu in the supply chain for the outflow valve, and
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                                      13   the agreement that Chendu had to supply it to CFIC-CAAC. In fact, Plaintiff did
                                      14   not reveal same in its Complaint in this lawsuit. Furthermore, according to the
                                      15   Complaint, Plaintiff is also suing for the $15 million contract Plaintiff had with
                                      16   Chendu and/or Jianna Wu. There is no case law supporting the alleged intentional
                                      17   interference with multiple contracts, four agreements in this case, because
                                      18   Defendants, like TAI, cannot be expected to know and anticipate that a potential
                                      19   customer is working for multiple customers under multiple contracts. As noted
                                      20   above, the law is clear and shows that TAI cannot be held liable for allegedly
                                      21   interfering with multiple contracts it did not actually know about.
                                      22         B.     Plaintiff’s Cause of Action for Negligent Interference with
                                                        Contractual Relations Fails on Grounds that this Cause of Action
                                      23                is Not Recognized Under California Law
                                      24         In California, there is no cause of action for negligent interference with
                                      25   contractual relations. Long ago, the California Supreme Court in Fifield Manor v.
                                      26   Finston 54 Cal.2d 632 (1960) specifically rejected a cause of action for negligent
                                      27   interference with contract.
                                      28


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                                       1         In Fifield Manor v. Finston, supra, 54 Cal.2d 632, the California Supreme
                                       2   Court noted: “the courts have consistently refused to recognize a cause of action
                                       3   based on negligent, as opposed to intentional, conduct which interferes with the
                                       4   performance of a contract between third parties or renders its performance more
                                       5   expensive or burdensome.” (Id. at 636). As such, TAI is entitled to judgment on
                                       6   Plaintiff’s second cause of action for negligent interference with contractual
                                       7   relations as no such cause of action is recognized under California law.
                                       8         C.     Plaintiff’s Cause of Action for Unfair Competition Fails Because
                                                        Plaintiff is a Commercial Enterprise and Because Interference
                                       9                with Contract Claims Fail
                                      10         Plaintiff alleges that TAI violated California Business and Professions Code
                                      11   § 17200 et seq., (“UCL”) by engaging in “unlawful, unfair and fraudulent business
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                                      12   practices” through obtaining Plaintiff’s customer information “for the illicit
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                                      13   purpose of trying to undercut [Plaintiff] and have Chendu breach its agreement
                                      14   with Plaintiff.” Plaintiff alleges that “[TAI has] received ill-gotten gains and
                                      15   Plaintiff has suffered injury in fact.” (Plaintiff’s Complaint P 23, 25). Plaintiff’s
                                      16   claim fails as a matter of law.
                                      17         The UCL statute is inapplicable to commercial parties when the matter arises
                                      18   from a contractual business relationship. In Linear Tech. Corp. v. Applied
                                      19   Materials, Inc. 152 Cal.App.4th 115, 135 (2007) the court held that when a “UCL
                                      20   action is based on contracts not involving either the public or individual consumers
                                      21   who are parties to the contract, a corporate plaintiff may not rely on the UCL for
                                      22   the relief it seeks.” This holding precludes Plaintiff, a corporation in the business
                                      23   of “providing manufacturing services for oversees companies interested in
                                      24   purchasing aviation parts from American Manufacturers” (Complaint Para. 6),
                                      25   from maintaining an action under the UCL. The business acts complained of are
                                      26   all related to the alleged business relationship between Plaintiff and TAI, and none
                                      27   of the purported contracts at issue involve the public or individual consumers in
                                      28   California. “Thus, a UCL claim fails if it lacks any connection to the protection of

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                                         1   fair competition or the general public.” (Sacramento E.D.M., Inc. v. Hynes
                                         2   Aviation Indus., Inc., 965 F. Supp.2d 1141, 1154 (E.D. Cal. 2013); See Also MH
                                         3   Pillars Ltd. v. Realini No. 15-1383 2017 WL 916414 at 10 (N.D. Cal. Mar. 8,
                                         4   2017) [“The UCL was not enacted to protect commercial parties who have a
                                         5   dispute that revolves around a contractual business relationship.”]
                                         6         Further, as discussed above, TAI cannot be held liable for interference of
                                         7   contracts in this case, so it committed no unlawful, unfair and fraudulent business
                                         8   practice. Thus, even if the UCL was available to Plaintiff, a claim under the UCL
                                         9   requires a plaintiff to establish an “unlawful,” “unfair,” or “fraudulent” business
                                        10   practice causing “injury in fact” and “lost money or property” to the plaintiff as a
                                        11   result of the unfair competition. (In re Tobacco II Cases 46 Cal.4th 298, 311
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                                        12   (2009)). The undisputed facts show that Plaintiff cannot meet this burden. As
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                                        13   such, TAI is not liable for Unfair Business Practices and summary judgment is
                                        14   warranted.
                                        15   V.    CONCLUSION
                                        16         For the foregoing reasons, Defendant Textron Aviation Inc., respectfully
                                        17   requests that the Court grant its Motion for Summary Judgment, or in the
                                        18   alternative, partial summary judgment as to each of Plaintiff’s causes of action
                                        19   individually.
                                        20
                                             Dated: April 10, 2020                     GORDON REES SCULLY
                                        21                                             MANSUKHANI, LLP
                                        22                                              By: /s/ Manuel Saldana
                                        23                                                    Manuel Saldana
                                                                                              Christopher J. Weber
                                        24                                                    Attorneys for Defendants
                                                                                              TEXTRON AVIATION
                                        25                                                    INC.
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